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                                           Exhibit E:
                             Cases To Be Dismissed Without Prejudice

                                                                                  2:06-cv-
                                                           Bartley, Samuel v.     02196-EEF-
Cellino & Barnes   Shannon           Bryant       K.       Merck & Co., Inc.      DEK
                                                                                  2:06-cv-
Matthews &                                                 Padilla, Rosa M. A.    07042-EEF-
Associates         Aguirre Colon     Emerita               v. Merck & Co.. Inc.   DEK
                                                                                  2:05-cv-
Matthews &                                                 Ballard, Lucille v.    04767-EEF-
Associates         Collins           Ernestine             Merck & Co., Inc.      DEK
                                                                                2:05-cv-
Matthews &                                                 Anderson, Johnny E. 04762-EEF-
Associates         Comeaux           Edmond                v. Merck & Co., Inc. DEK
                                                                                  2:06-cv-
Matthews &                                                 Curtis, Thelma L. v.   06946-EEF-
Associates         Cordero           Nilda        M        Merck & Co., Inc.      DEK
                                                                                  2:06-cv-
Matthews &                                                 Clark, Clara E. v.     06942-EEF-
Associates         Cordle            June         A        Merck & Co., Inc.      DEK
                                                                                  2:05-cv-
Matthews &                                                 Cabrera, Antonia A.    04589-EEF-
Associates         Correa Lopez      Delia                 v. Merck & Co., Inc.   DEK
                                                                                  2:06-cv-
Matthews &                                                 Padilla, Rosa M. A.    07042-EEF-
Associates         Costas Perez      Luis         R        v. Merck & Co.. Inc.   DEK
                                                                                  2:05-cv-
Matthews &                                                 Cable, Linda M. v.     04759-EEF-
Associates         Cox               Sara         L        Merck & Co., Inc.      DEK
                                                                                  2:05-cv-
Matthews &                                                 Cable, Linda M. v.     04759-EEF-
Associates         Douglas           William      N        Merck & Co., Inc.      DEK
                                                                                  2:06-cv-
Matthews &                                                 Clark, Clara E. v.     06942-EEF-
Associates         Elliott           Edward       L        Merck & Co., Inc.      DEK
                                                                                  2:05-cv-
Matthews &         Figueroa                                Cabrera, Antonia A.    04589-EEF-
Associates         Casanova          Serafin               v. Merck & Co., Inc.   DEK
                                                                                  2:05-cv-
Matthews &                                                 Cable, Linda M. v.     04759-EEF-
Associates         Foster            Carron       A        Merck & Co., Inc.      DEK
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                                                                      2:06-cv-
Matthews &                                     Clark, Clara E. v.     06942-EEF-
Associates    Fox          Vernon      F       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     Haywood, Amelia v.     06944-EEF-
Associates    Houde        Roselyn     M       Merck & Co., Inc.      DEK
                                                                      2:05-cv-
Matthews &                                     Cable, Linda M. v.     04759-EEF-
Associates    Hubek        Goldie      M       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     Haywood, Amelia v.     06944-EEF-
Associates    Jackson      Arnetta     K       Merck & Co., Inc.      DEK
                                                                    2:05-cv-
Matthews &                                     Anderson, Johnny E. 04762-EEF-
Associates    James        Hilton              v. Merck & Co., Inc. DEK
                                                                      2:06-cv-
Matthews &                                     Jenkins, Kenneth v.    07116-EEF-
Associates    Johnson      Carolyn     S       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     Jenkins, Kenneth v.    07116-EEF-
Associates    Langford     Edward      B       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McBride, James v.      06947-EEF-
Associates    Martin       Wesley      M       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McBride, James v.      06947-EEF-
Associates    Mason        Bennie              Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McCarty, Peggy E. v.   01795-EEF-
Associates    McCarty      Peggy       E       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McBride, James v.      06947-EEF-
Associates    McKinnon     Cindy       L       Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &                                     McBride, James v.      06947-EEF-
Associates    Mercer       Jerry           A   Merck & Co., Inc.      DEK
                                                                      2:05-cv-
Matthews &    Montalvo                         Velez, Ruben M. v.     04590-EEF-
Associates    Santiago     Carmen              Merck & Co., Inc.      DEK
                                                                      2:06-cv-
Matthews &    Morales                          Padilla, Rosa M. A.    07042-EEF-
Associates    Santiago     Paula               v. Merck & Co.. Inc.   DEK



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                                                                         2:05-cv-
Matthews &                                       Peters, Mildred L. v.   04754-EEF-
Associates    Noil             Elnora        M   Merck & Co., Inc.       DEK
                                                                         2:06-cv-
Matthews &                                       Montalto, Karen A.      06945-EEF-
Associates    Page             David         J   v. Merck & Co., Inc.    DEK
                                                                         2:05-cv-
Matthews &                                       Velez, Ruben M. v.      04590-EEF-
Associates    Ramirez Torres   Rosa              Merck & Co., Inc.       DEK
                                                                         2:06-cv-
Matthews &                                       Montalto, Karen A.      06945-EEF-
Associates    Reese            William       R   v. Merck & Co., Inc.    DEK
                                                                         2:06-cv-
Matthews &    Rosado                             Padilla, Rosa M. A.     07042-EEF-
Associates    Sanchez          Hiroshima         v. Merck & Co.. Inc.    DEK
                                                                      2:05-cv-
Matthews &                                       Anderson, Johnny E. 04762-EEF-
Associates    Ross             Sylvia            v. Merck & Co., Inc. DEK
                                                 Rockingham,             2:06-cv-
Matthews &                                       Valerie v. Merck &      07115-EEF-
Associates    Shannon          Timothy       L   Co., Inc.               DEK
                                                 Rockingham,             2:06-cv-
Matthews &                                       Valerie v. Merck &      07115-EEF-
Associates    Smart            William       I   Co., Inc.               DEK
                                                 Rockingham,             2:06-cv-
Matthews &                                       Valerie v. Merck &      07115-EEF-
Associates    Smith            Jeanie        H   Co., Inc.               DEK
                                                 Rockingham,             2:06-cv-
Matthews &                                       Valerie v. Merck &      07115-EEF-
Associates    Smith            Katherine     J   Co., Inc.               DEK
                                                                         2:05-cv-
Matthews &                                       Velez, Ruben M. v.      04590-EEF-
Associates    Soto Rivera      Tomasa            Merck & Co., Inc.       DEK
                                                 Rockingham,             2:06-cv-
Matthews &                                       Valerie v. Merck &      07115-EEF-
Associates    Stewart          Dorothy       E   Co., Inc.               DEK
                                                                      2:05-cv-
Matthews &                                       Anderson, Johnny E. 04762-EEF-
Associates    Thomas           Bandele           v. Merck & Co., Inc. DEK
                                                                         2:05-cv-
Matthews &                                       Velez, Ruben M. v.      04590-EEF-
Associates    Vega Valentin    Lidia         E   Merck & Co., Inc.       DEK



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                                                                   2:06-cv-
Matthews &    Velez                         Padilla, Rosa M. A.    07042-EEF-
Associates    Rodriguez    Delia            v. Merck & Co.. Inc.   DEK
                                                                 2:05-cv-
Matthews &                                  Anderson, Johnny E. 04762-EEF-
Associates    Voiron       Dorothy     E    v. Merck & Co., Inc. DEK
                                            Rockingham,            2:06-cv-
Matthews &                                  Valerie v. Merck &     07115-EEF-
Associates    Watson       Warren           Co., Inc.              DEK
                                            Rockingham,            2:06-cv-
Matthews &                                  Valerie v. Merck &     07115-EEF-
Associates    Young        Gloria           Co., Inc.              DEK




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